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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

 

-v. - SEALED INDICTMENT
- MEDIN KOSIC, 18 Cr. ()
. a/k/a “Dino,”
JASMIN CEJOVIC, ;
a/k/a “Min,” ”

PAUL VAN MANEN,
MIRSAD BOGDANOVIC,
a/k/a “Mike,”
SHAUN SULLIVAN,
THEODORE BANASKY,
a/k/a “Freddy, ”
a/k/a “Eduardo, ”
ANTHONY FRANCESE,
ALEXANDER BUCCI,
JOSEPH CUCCINIELLO,
a/k/a “Cuch, ”
KENNETH CHARLTON, and
JENNIFER BOGDANOVIC,

: Defendants.

The Grand Jury charges:

 

Overview of the Conspiracy she
1.From at least in or about 2015, up to and including in or
about January 2018, in the Southern District of New York and
elsewhere, MEDIN KOSIC, a/k/a “Dino,” JASMIN CEJOVIC, a/k/a “Min,”
PAUL VAN MANEN, MIRSAD BOGDANOVIC, a/k/a “Mike,” SHAUN SULLIVAN,
THEODORE BANASKY, a/k/a “Freddy, ” a/k/a “Eduardo,” ANTHONY
FRANCESE, ALEXANDER BUCCI, JOSEPH CUCCINIELLO, a/k/a ‘“Cuch,”

KENNETH CHARLTON, and JENNIFER BOGDANOVIC, the defendants

 
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(collectively, the “Defendants”), and others known and unknown,
conspired to distribute heroin and fentanyl in and around New York
City, among other places.

2. The Defendants were members of a drug trafficking
organization (the ‘“DTO”) that obtained narcotics from a supplier

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in Brooklyn, which were then stored and packaged in Staten Island
or Brooklyn, and resold in Brooklyn, Staten Island, and New Jersey,

among other places. Certain Defendants also arranged to sell

narcotics while in Manhattan.

 

Roles in the Conspiracy
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3. The Defendants played’ different roles within the DTO.
For example, certain Defendahts regularly sold heroin (including
heroin containing fentanyl) to retail customers; other Defendants
obtained wholesale supplies of heroin that they distributed to
other members of the DTO; and other Defendants managed “stash
houses” where the heroin was stored and packaged prior to
distribution.

4. MEDIN KOSIC, a/k/a “Dino,” the defendant, supplied
JASMIN CEJOVIC, a/k/a “Min,” PAUL VAN MANEN, MIRSAD BOGDANOVIC,
a/k/a “Mike,” SHAUN SULLIVAN, THEODORE BANASKY, a/k/a “Freddy,”
a/k/a “Eduardo,” ANTHONY FRANCESE, ALEXANDER BUCCI, and JOSEPH

CUCCINIELLO, a/k/a ‘“Cuch,” the defendants, with heroin for

distribution.
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5: THEODORE BANASKY, a/k/a “Freddy,” a/k/a “Eduardo,” and
ANTHONY FRANCESE, the defendants, managed stash houses in Brooklyn
and Staten Island on behalf of MEDIN KOSIC, a/k/a “Dino,” the
defendant, where heroin was stored and packaged prior to further
distribution.

6. KENNETH CHARLTON, the defendant, recruited customers for
the DTO from, among other places, a drug treatment program.

7. JENNIFER BOGDANOVIC, the defendant, Facilitated
narcotics transactions between MEDIN KOSIC, a/k/a “Dino,” the
defendant, and other members of the DTO, including PAUL VAN MANEN,
the defendant.

DTO’s Awareness of Potency and Risk of Overdose

8. As discussed above, the narcotics sold by the DTO
included heroin and fentanyl. At least some of the Defendants
were aware that the narcotics distributed by the DTO were
particularly potent. Indeed, one of the DTO members, SHAUN

SULLIVAN, the defendant, overdosed from heroin that was provided

by the DToO. Nevertheless, the DTO continued to distribute
narcotics.
9. On or about October 5, 2017, SHAUN SULLIVAN, the

defendant, was found unconscious in Staten Island following a drug
overdose. SULLIVAN and PAUL VAN MANEN, the defendant, had obtained

heroin from MEDIN KOSIC, a/k/a “Dino,” the defendant, the night

 
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before SULLIVAN overdosed. SULLIVAN was revived with naloxone.
After SULLIVAN overdosed on the heroin supplied by KOSIC, VAN MANEN
told KOSIC, in part, that “Shaun . . . this morning he did two
pieces and OD’ed.” Later that day, in discussing how SULLIVAN had
overdosed, KOSIC asked if it was “surprising” to VAN MANEN that
SULLIVAN had overdosed. VAN MANEN told KOSIC that it was “not
surprising, no.”

10. Notwithstanding their awareness of the risk of overdose
posed by the narcotics distributed by the DTO, members of the DTO
continued to distribute heroin laced with fentanyl to others. On
or about October 10, 2017, PAUL VAN MANEN, the defendant, spoke
with a narcotics customer (*Customer-1") about the strength of
recent heroin compared to previous batches of heroin. VAN MANEN
told Customer-1, in sum and substance, that SHAUN SULLIVAN, the

defendant, had told VAN MANEN that “fentanyl comes out clear, like

champagne.” Customer-1 said “the regular one comes back like
champagne.” VAN MANEN replied that “the one that come back like
champagne, it’s with fentanyl.” Customer-1 expressed surprise
that “the regular stuff” contained fentanyl: “Wow, that’s why

it’s so potent.”
STATUTORY ALLEGATIONS
11. From at least in or about 2015, through in or about

January 2018, in the Southern District of New York and elsewhere,
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MEDIN KOSIC, a/k/a “Dino,” JASMIN CEJOVIC, a/k/a “Min,” PAUL VAN
MANEN, MIRSAD BOGDANOVIC, a/k/a “Mike,” SHAUN SULLIVAN, THEODORE
BANASKY, a/k/a “Freddy,” a/k/a “Eduardo,” ANTHONY FRANCESE,
ALEXANDER BUCCI, JOSEPH CUCCINIELLO, a/k/a  *Cuch,” KENNETH
CHARLTON, and JENNIFER BOGDANOVIC, the defendants, and others
known and unknown, intentionally and knowingly did combine,
conspire, confederate, and agree together and with each other to
violate the narcotics laws of the United States.

12. It was a part and an object of the conspiracy that MEDIN
KOSIC, a/k/a “Dino,” JASMIN CEJOVIC, a/k/a “Min,” PAUL VAN MANEN,
MIRSAD BOGDANOVIC, a/k/a “Mike,” SHAUN SULLIVAN, THEODORE BANASKY,
a/k/a “Freddy,” a/k/a “Eduardo,” ANTHONY FRANCESE, ALEXANDER
BUCCI, JOSEPH CUCCINIELLO, a/k/a ‘“Cuch,” KENNETH CHARLTON, and
JENNIFER BOGDANOVIC, the defendants, and others known and unknown,
would and did distribute and possess with intent to distribute
controlled substances, in violation of Title 21, United States
Code, Section 841(a) (1).

13. The controlled substances that MEDIN KOSIC, a/k/a
“Dino,” JASMIN CEJOVIC, a/k/a “Min,” PAUL VAN MANEN, MIRSAD
BOGDANOVIC, a/k/a “Mike,” SHAUN SULLIVAN, THEODORE BANASKY, a/k/a
‘Freddy,” a/k/a “Eduardo,” ANTHONY FRANCESE, ALEXANDER BUCCI,
JOSEPH CUCCINIELLO, a/k/a *Cuch,” KENNETH CHARLTON, and JENNIFER

BOGDANOVIC, the defendants, conspired to distribute and possess
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with intent to distribute were (a) one kilogram and more of
mixtures and substances containing a detectable amount of heroin,
in violation of Title 21, United States Code, Section 841(b) (1) (A),
and (b) a quantity of mixtures and substances containing a
detectable amount of fentanyl, in violation of Title 21, United
States Code, Section 841(b) (1) (Cc).

(Title 21, United States Code, Section 846.)

FORFEITURE ALLEGATION

 

14. As a result of committing the controlled substance
offense alleged in Count One of this Indictment, MEDIN KOSIC, a/k/a
“Dino,” JASMIN CEJOVIC, a/k/a ‘*Min," PAUL VAN MANEN, MIRSAD
BOGDANOVIC, a/k/a *Mike,” SHAUN SULLIVAN, THEODORE BANASKY, a/k/a
“Freddy,” a/k/a “Eduardo,” ANTHONY FRANCESE, ALEXANDER BUCCI,
JOSEPH CUCCINIELLO, a/k/a “Cuch,” KENNETH CHARLTON, and JENNIFER
BOGDANOVIC, the- defendants, shall forfeit to the United States,
pursuant to Title 21, United States Code, Section 853, any and all
property constituting, or derived from, any proceeds obtained,
directly or indirectly, as a result of said offense and any and
all property used, or intended to be used, in any manner or part,
to commit, or to facilitate the commission of, said offense,
including, but not limited to, a sum of money in United States
currency representing the amount of proceeds traceable to the

commission of said offense.

 
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SUBSTITUTE ASSETS PROVISION
15. If any of the above described forfeitable property, as

a result of any act or omission of the defendants:

(a) cannot be located upon the exercise of due
diligence;

(b) has been transferred or sold to, or deposited
with, a third person;

(c) has been placed beyond the jurisdiction of the
Court;

(d) has been substantially diminished in value; or

(e) has been commingled with other property which
cannot be subdivided without difficulty;
it is the intent of the United States, pursuant to Title 21, United
States Code, Section 853(p), to seek forfeiture of any other
property of the defendants up to the value of the above forfeitable
property. |

(Title 21, United States Code, Section 853.)

FOREPERSON GEOFFREY S() BERMAN
United States Attorney

 

 
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Form No. USA-33s-274 (Ed. 9-25-58)

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
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MEDIN KOSIC, a/k/a “Dino,”
JASMIN CEJOVIC, a/k/a “Min,”
PAUL VAN MANEN,

MIRSAD BOGDANOVIC, a/k/a “Mike,”
SHAUN SULLIVAN,

THEODORE BANASKY, a/k/a “Freddy,”
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ANTHONY FRANCESE,
ALEXANDER BUCCI,

JOSEPH CUCCINIELLO, a/k/a “Cuch,”
KENNETH CHARLTON, and
JENNIFER BOGDANOVIC,

Defendants.

 

INDICTMENT
18 Cr. ( )

(21 U.S.C. § 846.)

GEOFFREY S. BERMAN
United States Attorney

 

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Foreperson

 

 

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